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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

ZURICH AMERICAN              )
INSURANCE COMPANY,           )
                             )
              Plaintiff,     )
                             )
v.                           )
                             )                  Case No.: 1:22-cv-04377-JPB
PATRIOT MODULAR, LLC and     )
ELDECO PIPE AND FABRICATION, )
LLC,                         )
                             )
              Defendants.    )
                             )

                                      ORDER

        On this date came for consideration Plaintiff Zurich American Insurance

Company’s Motion for Service by Publication of Defendant Patriot Modular, LLC.

The Court having considered the pleadings on file herein, finds the motion is

meritorious, and should be granted.

        It is, therefore, ORDERED Plaintiff Zurich American Insurance Company’s

Motion for Service by Publication is GRANTED and the Clerk of the Court is

directed to effect service by publication in accordance with O.C.G.A. § 9-11-

4(f)(1)(C) upon Defendant Patriot Modular.




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This        day of _________________, 2023.



                                    The Hon. J.P. Boulee
                                    United States District Judge




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